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 5
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 6   Shanghai Tyron Semiconductor Equipment Co., Ltd.

 7                                IN THE UNITED STATES DISTRICT COURT

 8                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

 9
     Shanghai Tyron Semiconductor Equipment           Case No. 5:24-cv-08551-EJD
10   Co., Ltd., a Chinese Corporation
                                                      [PROPOSED] ORDER GRANTING
11
                                                      PETITIONER’S REQUEST FOR INTRIM
12                  Petitioner,                       RELIEF

13          v.                                        Date: April 10, 2025
                                                      Time: 09:00 AM
14   Capital Asset Exchange and Trading, LLC, a       Place: San Jose, Courtroom 4, 5th Floor
     California Limited Liability Company,            Judge: Edward J. Davila
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                    Respondent.
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                 [PROPOSED] ORDER GRANTING PETITIONER’S REQUEST FOR INTERIM RELIEF
                                     CASE NO. 5:24-CV-08551-EJD
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 1    [PROPOSED] ORDER GRANTING PETITIONER’S REQUEST FOR INTERIM RELIEF
 2           The Court, having considered Petitioner’s Request For a Briefing Schedule and Interim
 3
     Relief, hereby GRANTS the Motion and ORDERS as follows:
 4
             Petitioner shall have until May 1, 2025 to respond to Respondent’s ex parte application,
 5
     without prejudice to its ability to respond earlier or seek other relief.
 6

 7           Respondent shall have until ________________________ to reply.
 8
             Respondent is ORDERED to withhold an OFAC filing until the Court has determined
 9

10 whether there is any basis for it to seek an OFAC advisory opinion or license following briefing.

11           Respondent is FURTHER ORDERED to identify the FBI/BIS agents it spoke with
12
     (confidentially if necessary, via direct e-mail between counsel) as well as provide Petitioner with all
13
     contact information in Respondent’s possession and control, by April 11, 2025.
14

15 IT IS SO ORDERED.

16 Dated: ________________                                _____________________________________
17                                                         Honorable Edward J. Davila
18                                                         United States District Judge

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                [PROPOSED] ORDER GRANTING PETITIONER’S REQUEST FOR INTERIM RELIEF
                                    CASE NO. 5:24-CV-08551-EJD
